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UN|TED STATES D|STR|CT COURT

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JAcKiE MccRAvEN l

Randolgh A|den, FPD
Defense Attorney

200 Jefferson, Ste. 200
Memphis, TN 38103

 

*A*M*E*N*D*E*D* JUDGMENT |N A CR|M|NAL CASE
(For Offonses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the |ndictment on April 28, 2003.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Title & section MMMM Offense Number(s)
Q.Or\cl_uded
21 U.S.C. § 841 (a)(1) Possession with the lntent to Distribute 10/15/2001 1
Cocaine
18 U.S.C. § 922(9) Fe|on in Possession of a Firearm 10115/2001 2

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Imposition of Sentence:
Defendant’s Date of Birth: 02/01/1960 September 26, 2003
Deft's U.S. lV|arsha| No.: 08215-076

Defendant’s Mai|ing Address:
4858 Summer|ane
IVlemphis, TN 38118

  

 

BERN|CE B. DONALD
UN|TED STATES D|STR|CT JUDGE
Thle document entered on the docket she i a

with R'Jle 55 and/or 32(b) FFlCrP on Ju|y gi , 2005

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Case No: 2:020R20295-01 Defendant Name: Jackie |V|CCRAVEN Page 2 of 5
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *60 Months, to run concurrently.

The Court recommends to the Bureau of Prisons:

1. The defendant shall participate in the Residential Drug Abuse Treatment
Program in the Bureau of Prisons.

2. That the defendant be designated to a facility as close to Memphis, TN as
possible.

*3. That the defendant be transferred to a half-way house facility as soon as
defendant becomes eligible.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. N|arshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised releasel the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicia| district without the permission of the court or probation ofncer;

2. The defendant shall report to the probation officer as directed by the court or probation ofhcer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ofhcer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofncer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to conhrm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation. it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment.

ADD|T|ONAL CONDiTiONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient andlor inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependencywhich may include testing forthe detection of substance use orabuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation thcer. *The defendant shall
submit to drug screening as directed by the Probation thcer.

2. The defendant shall seek and maintain lawful full-time employment
3. *The defendant shall cooperate with DNA collection as directed by the Probation Officer.
4. *The Probation Officer shall have permission to make unannounced visits upon the

defendant

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CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Tota| Fine Tota| Restitution
$200.00*(PA|D)

The Special Assessment shall be due immediate|y.
FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:02-CR-20295 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

